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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

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                                                      x
                                                      :
In re:                                                : Chapter 11
                                                      :
HO WAN KWOK,                                          : Case No. 22-50073 (JAM)
                                                      :
                           1
                  Debtor.                             :
                                                      :
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     MOTION OF CHAPTER 11 TRUSTEE FOR ENTRY OF ORDER, PURSUANT TO
       BANKRUPTCY RULES 9014(c) AND 9016, QUASHING SUBPOENAS AND
       CONFIRMING THAT DEBTOR IS NOT ENTITLED TO DISCOVERY IN
       CONNECTION WITH DEBTOR’S MOTION FOR RELIEF FROM ORDER
    APPOINTING LUC A. DESPINS AS CHAPTER 11 TRUSTEE OR THE TRUSTEE’S
         APPLICATION TO EMPLOY PAUL HASTINGS LLP AS COUNSEL

        Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

above-captioned chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor”), by and

through his undersigned proposed counsel, hereby respectfully moves (the “Motion”), under Rules

9014(c) and 9016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for

entry of an order, substantially in the form of the proposed order attached hereto as Exhibit A (the

“Proposed Order”), (a) quashing the Subpoenas (defined below) directed to the Trustee’s proposed

counsel, Paul Hastings LLP (“Paul Hastings”), which the Debtor served on Paul Hastings on July

22, 2022 in connection with his Motion for Relief from Order Appointing Luc A. Despins as

Chapter 11 Trustee [Docket No. 561] (the “60(b) Motion”), and (b) confirming that the Debtor is

not entitled to any discovery in connection with the 60(b) Motion or the Trustee’s Application



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     Although the Debtor’s legal name is Ho Wan Kwok, he is also known as Guo Wengui, Miles
     Guo, and Miles Kwok, as well as numerous other aliases. The last four digits of the Debtor’s
     taxpayer identification number are 9595.
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Authorizing and Approving Retention and Employment of Paul Hastings LLP as Counsel to the

Chapter 11 Trustee [Docket No. 539] (the “PH Retention Application”).

       At the status conference held July 21, 2022 (the “Status Conference”), concerning, inter

alia, the 60(b) Motion and the PH Retention Application, the Debtor announced his intention to

pursue discovery in search for a basis (suggested only in broad-strokes conspiracy theories) to

overturn the Trustee’s appointment and prevent the retention of Paul Hastings as counsel. Parties-

in-interest, including the Official Committee of Unsecured Creditors (the “Committee”) and

Pacific Alliance Asia Opportunity Fund (“PAX”), as well as the Trustee, expressed concern that

devoting time and resources to humor the Debtor’s paranoia would waste potential recoveries for

creditors of the Debtor’s estate (the “Estate”) and delay its proper administration. The Court

plainly stated at the Status Conference that such discovery would not be permitted, and, if

such discovery were served, the Trustee would not need to respond.

       Nevertheless, on Friday, July 22, 2022, in purported support of his Rule 60(b) Motion, the

Debtor served Paul Hastings with a Subpoena Duces Tecum including a Schedule A of documents

demanded for production (collectively, the “Document Subpoena”), requiring Paul Hastings to

produce documents at the offices of Debtor’s declared new counsel at 9 a.m. on Tuesday, July 26,

2022. The Debtor also served Paul Hastings with a Subpoena to Testify at Deposition (the

“Deposition Subpoena” and, together with the Document Subpoena, the “Subpoenas”), directing

Paul Hastings to produce a witness to testify at 10:00 a.m. on July 28, 2022. True and accurate

copies of the Subpoenas are attached hereto as Exhibits B and C, respectively. The Subpoenas

seek, inter alia, documents and testimony concerning purported connections the Debtor speculates

may exist between (unidentified) entities potentially influenced by the Chinese Government and

Paul Hastings.



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       Indulging the Debtor’s unfounded conspiracy theories would waste time and resources at

a critical juncture in this Chapter 11 Case – when the Trustee is poised to pursue substantial assets

that the Debtor and allied persons have sought for years to insulate and conceal from the Debtor’s

creditors while the Debtor simultaneously controls them and enjoys their use. Accordingly, the

Court should exercise its discretion under Bankruptcy Rules 9014(c) and 9016 (which

incorporates Federal Rule of Civil Procedure 45) to (i) quash the Subpoenas and (ii) confirm

its prior statements and order the Debtor is not entitled to discovery on the 60(b) Motion or

the PH Retention Application.

       In further support of the Motion, the Trustee states the following:

                   JURISDICTION, VENUE, AND STATUTORY BASIS

       1.      The United States Bankruptcy Court for the District of Connecticut (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference from the United States District Court for the District of Connecticut (as amended). This

Motion is a core proceeding within the meaning of 28 U.S.C. § 157(b).

       2.      Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The basis for the relief sought by this Motion is Bankruptcy Rules 9014(c) and 9016

(incorporating Federal Rule of Civil Procedure 45).

                                         BACKGROUND
       4.      On February 15, 2022 (the “Petition Date”), the Debtor filed with the Court a

voluntary petition for relief under chapter 11 of Title 11 of the United States Code (such title,

hereinafter, the “Bankruptcy Code”).

       5.      On March 21, 2022, the United States Trustee appointed the Committee in the

Debtor’s Chapter 11 Case. No examiner has been appointed in the Chapter 11 Case.



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       6.      On June 15, 2022, the Court entered a memorandum of decision and order [ECF

No. 465] (the “Trustee Order”) directing the United States Trustee (the “U.S. Trustee”) to appoint

a chapter 11 trustee in the Chapter 11 Case. Pursuant to the Trustee Order, the United States

Trustee selected Luc A. Despins as the Trustee.

       7.      On July 7, 2022, the U.S. Trustee filed its Application for Order Approving

Appointment of a Chapter 11 Trustee (the “Appointment Application”) together with the

Declaration of Disinterestedness of Luc A. Despins (the “Trustee Declaration”) [Docket No. 515].

The Court held a hearing (the “Hearing”) on the Appointment Application on July 8, 2022, which

was attended by, inter alia, Debtor’s counsel (then, Brown Rudnick LLP (“Brown Rudnick”)) and

counsel for HK International Funds Investments (USA) Limited, LLC (“HK International”) and

Mei Guo, the Debtor’s daughter (Zeisler & Zeisler, P.C. (“Z&Z”)).

       8.      No parties objected to the Appointment Application or requested discovery with

respect thereto prior to or at the Hearing, and, thereafter, the Court entered an order granting the

appointment of Luc A. Despins as the Trustee in the Chapter 11 Case [ECF No. 523] (the

“Appointment Order”).

       9.      On July 12, 2022, the Trustee filed his First Supplemental Declaration of

Disinterestedness [Docket No. 538] and the PH Retention Application.

       10.     On July 13, 2022, Brown Rudnick moved to withdraw as the Debtor’s counsel

[Docket No. 543] (the “Motion to Withdraw”). On July 14, 2022, attorneys from Z&Z filed

appearances for the Debtor. [Docket Nos. 550-553.]

       11.     On July 15, 2022, the Debtor filed his 60(b) Motion seeking relief from the Court’s

Appointment Order. On July 20, 2022, the Trustee filed his objection to the Debtor’s 60(b) Motion




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[Docket No. 575] (the “60(b) Objection”), which 60(b) Objection the Trustee incorporates herein

by reference.

          12.    The Court held the Status Conference on July 21, 2022, for the Trustee to advise

the Court and parties-in-interest concerning his administration of the Estate to date, and to discuss

the Motion to Withdraw, the PH Retention Application, and the 60(b) Motion.

          13.    At the Status Conference, the Debtor’s counsel repeatedly stated the Debtor’s

intention to take discovery on the 60(b) Motion and the PH Retention Application. The Court was

crystal clear that such discovery would not be permitted, including during the following exchange

between the Court and Debtor’s counsel, which occurred between 2:05:45 – 2:06:45 on the audio

recording of the Status Conference:2

          THE COURT:            I’m not allowing you to take any discovery before I rule on
                                the 60(b) Motion.
          MR. HENZY:            And on the Paul Hastings Retention application?
          THE COURT:            And on the Paul Hastings Retention application.
          MR. HENZY:            Ok. So you’re ruling that today?
          THE COURT:            That is correct. There is going to be no discovery … That’s
                                not going to happen. We’ll have a hearing. We’ll hear your
                                matter … If I rule against you, then you’ll appeal.
                                ….
          THE COURT:            I’m telling you if you seek discovery before I rule on these
                                matters, then I’m not going to make the other side comply.
          14.    Following the Status Conference, the Court scheduled a hearing with respect to the

Motion to Withdraw, the PH Retention Application, and the 60(b) Motion, for Monday, August 1,

2022 [Docket No. 596].




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    The Trustee has ordered a transcript of the Status Conference on an expedited basis.
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       15.     The Debtor served Paul Hastings with the Subpoenas on July 22, 2022, demanding

compliance with the Document Subpoena by 9 a.m. on Tuesday, July 26, 2022, and demanding a

deposition at 10:00 a.m. on July 28, 2022.

       16.     On the evening of July 22, 2022, in an abundance of caution, counsel for the Trustee

held a telephonic meet-and-confer with counsel for the Debtor (the “Meet-and-Confer”) and

requested that the Debtor withdraw the Subpoenas. The parties discussed their respective positions

and the Debtor declined to withdraw the Subpoenas, necessitating this Motion.3

                                     REQUESTED RELIEF

       17.     The Court should exercise its discretion to quash the Subpoenas and confirm that

the Debtor is not entitled to discovery on the 60(b) Motion or the PH Retention Application. The

Trustee does not concede that the Debtor has standing to attack the Appointment Order or to

oppose the PH Retention Application, but, out of an abundance of caution, the Trustee is

addressing the merits herein, as they relate to discovery, as if the Debtor had such standing.

       18.     The Debtor’s theories proposed to advance his 60(b) Motion are irrelevant and

speculative – not to mention paranoid and conspiracist – and do not warrant the delay and expense

of discovery. (See generally Trustee’s Objection to 60(b) Motion.) As concerns the PH Retention

Application, the Debtor has not objected to the application and therefore it is not a contested matter

pursuant to which the Debtor has sought discovery. In any event, discovery on the PH Retention

Application is irrelevant and unnecessary for the same reasons as discovery on the 60(b) Motion.



3
  The Meet-and-Confer was not mandatory and an affidavit attesting that such a conference
occurred is not required, because this Motion is brought under Bankruptcy Rules 9014(c) and 9016
and not under the Bankruptcy Rules 7026-7037 (the “Discovery Rules”) or under Rule 2004, see
Rules 2004-1 and 7037-1 of the Local Rules of Bankruptcy Procedure, provided however, to the
extent that the Court believes that these requirements do or should apply, undersigned proposed
counsel for the Trustee, Patrick R. Linsey, declares upon penalty of perjury that the representations
set forth in Paragraph 16 of this Motion are true and correct, see 28 U.S.C. § 1746.
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       19.     The Debtor indicated during the Meet-and-Confer that he claims discovery on the

60(b) Motion pursuant to Bankruptcy Rule 9014, which governs “contested matters.” While the

term “contested matter” “is not defined in the [Bankruptcy] Code or text of the [Bankruptcy]

Rules, the Notes of the Advisory Committee to the 1983 amendment to [Bankruptcy] Rule

9014 explain: ‘Whenever there is an actual dispute, other than an adversary proceeding, before

the bankruptcy court, the litigation to resolve that dispute is a contested matter.’” In re Northwest

Airlines Corp., 2007 Bankr. LEXIS 5114, *10 (Bankr. S.D.N.Y. Sept. 26, 2007); see also 10

Collier on Bankruptcy P 9014.01 (16th 2022).4

       20.     Bankruptcy Rule 9014 incorporates certain of the Part VII Bankruptcy Rules,

including, with certain exceptions and modifications, the Discovery Rules, “unless the court

directs otherwise …” (emphasis added). Indeed, the Court’s discretion to direct otherwise reflects

what is the “hallmark of the contested matter rules …” i.e., “the power of the court to tailor the

rules to fit the situation.” See In re Fagan, 559 B.R. 718, 725 (E.D. Cal. 2016); see also In re

Gaftick, 333 B.R. 177, 182-183 (E.D.N.Y. 2005) (rejecting appeal of bankruptcy court’s denial of

discovery with respect to contested matter given the bankruptcy court’s discretion under

Bankruptcy Rule 9014(c) to direct that the Discovery Rules shall not apply).

       21.     Crafting procedures to decide contested matters (including whether to apply Part

VII rules) is subject to the Court’s sound discretion. See SE Prop. Holdings, LLC v. Gaddy Electric

& Plumbing, LLC (In re Gaddy), 851 Fed. Appx. 996, 1003-1004 (11th Cir. 2021) (holding


4
  Collier states: “Broadly speaking, disputes that arise in bankruptcy cases can be divided into the
following categories: (1) adversary proceedings, governed by Part VII of the Federal Rules of
Bankruptcy Procedure; (2) administrative matters, in which there is no adversary party (for
example, an unopposed motion by a trustee to sell property of the estate); and (3) contested matters,
which do not qualify as adversary proceedings because they are not included in the Rule 7001 list.
Contested matters resemble adversary proceedings in that there are (at least) two parties who are
opposing each other with respect to relief sought by one of them.” Id.

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bankruptcy court “did not abuse its discretion” in declining to allow discovery claimed pursuant

to Bankruptcy Rule 9014); In re Gaftick, 333 B.R. 177, 182-183 (E.D.N.Y. 2005); cf. In re

Ephedra Prods. Liab. Litig., 329 B.R. 1, 5 (S.D.N.Y. 2005) (affirming bankruptcy court’s exercise

of discretion in declining request to apply Bankruptcy Rule 7023 to a contested matter) (“Although

the Bankruptcy Code and [Bankruptcy] Rules give no express guidance for the court's exercise of

this discretion, a pervasive theme is avoiding undue delay in the administration of the case.”).

       22.     The Court further has discretion to quash a subpoena pursuant to Federal Rule of

Civil Procedure 45, as incorporated by Bankruptcy Rule 9016. Specifically, Rule 45(d)(3) permits

a court to quash a subpoena that, among other things, subjects a person to undue burden.

       23.     The Debtor’s 60(b) Motion purports to be based on new evidence and exceptional

circumstances sufficient to justify the Court’s reconsideration of the Appointment Order. In

reality, the 60(b) Motion is founded on speculative conspiracy theories that irrelevant connections

may exist between Paul Hastings and persons influenced by the Chinese Government, because the

law firm does business in China and represents Chinese clients. Dozens of international law firms

(including U.S.-based international law firms) have offices and/or do business in China. For

example, Brown Rudnick apparently regularly represents Chinese persons and entities, such that

the firm has even “authored a guide for Chinese companies on navigating the [Committee on

Foreign Investment in the United States] process.” See Brown Rudnick’s CFIUS Practice,

available at https://brownrudnick.com/practice/cfius/ (last visited July 24, 2022) (specifically

describing Brown Rudnick’s engagements representing Chinese business interests).5 Yet the




5
  Brown Rudnick also formerly represented (as to unrelated matters) entities owned by Zheng Wu
(a/k/a Bruno Wu), a Chinese businessman who is a creditor active in this Chapter 11 Case and a
plaintiff suing the Debtor in an adversary proceeding (case no. 22-05013). See Supplemental
Declaration of William R. Baldiga, Exhibit B to Debtor’s Reply in Support of Application of the
                                                 8
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Debtor and his former counsel repeatedly represented that Brown Rudnick was disinterested;

apparently, then, the Debtor’s purported concerns voiced in its 60(b) Motion are selective, if not

merely feigned in an effort to obstruct the Trustee’s effective operation.6 The Debtor’s theories

concerning the Trustee and his counsel are irrelevant, paranoid, speculative – and fall far

short of any basis sufficient to justify the delay and expense of discovery as to these matters.

        24.     Further, the Debtor’s purported basis for the 60(b) Motion rests on public

information that was known at the time of the Hearing, which was attended by both the Debtor’s

old counsel and its new counsel (then representing HK International and the Debtor’s daughter).

Neither the Debtor nor these insider parties sought discovery prior to or at the Hearing or otherwise

in advance of the Appointment Order’s entry. The purpose of Bankruptcy Rule 9014 is not to

resuscitate rights that the Debtor and his allies already waived.

        25.     Discussion from the Status Conference reflects that the Court recognized these

considerations and thus properly exercised its discretion under Bankruptcy Rule 9014(c) to order

that the Debtor would not be permitted discovery on the 60(b) Motion or the PH Retention

Application. See, e.g., Audio Recording of Status Conference at 1:40:00 – 1:40:22 (“I’m not going

to allow discovery to derail the process of the Chapter 11 Trustee appointment and his duties and

responsibilities to carry out his affairs in this case.”).

        26.     To the extent that the Court does not quash the Subpoenas and/or permits any

discovery on the 60(b) Motion or the PH Retention Application, the Trustee reserves all rights and

bases to challenge any discovery sought for any and all additional reasons not specifically stated




Debtor for Entry of an Order Authorizing the Employment and Retention of Brown Rudnick LLP
as Counsel for the Debtor, at p. 5 [Docket No. 195].
6
  The Trustee observes these facts not to litigate Brown Rudnick’s disinterestedness – but to
highlight the selectivity of the Debtor’s purported concerns.
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herein, including, without limitation, the irrelevance, ambiguity, and over-breadth of particular

requests or the extent to which particular requests or areas of inquiry seek to invade the attorney-

client privilege or other applicable privileges and protections.

                                         CONCLUSION

       WHEREFORE, for the foregoing reasons, the Court should grant this Motion, enter the

Proposed Order quashing the Subpoenas and ordering that the Debtor is not permitted to serve

discovery in connection with the 60(b) Motion or the PH Retention Application, and order such

other and further relief as the Court deems just and proper.

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Dated:   July 25, 2022                LUC A. DESPINS,
         New Haven, Connecticut       CHAPTER 11 TRUSTEE

                                      By: /s/ Patrick R. Linsey
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                                         Patrick R. Linsey (ct29437)
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                                   EXHIBIT A

                                 Proposed Order
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

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In re:                                                : Chapter 11
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HO WAN KWOK,                                          : Case No. 22-50073 (JAM)
                                                      :
                  Debtor.                             :
                                                      :
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  [PROPOSED] ORDER, PURSUANT TO BANKRUPTCY RULES 9014(c) AND 9016,
 QUASHING SUBPOENAS AND CONFIRMING THAT DEBTOR IS NOT ENTITLED
TO DISCOVERY IN CONNECTION WITH DEBTOR’S MOTION FOR RELIEF FROM
ORDER APPOINTING LUC A. DESPINS AS CHAPTER 11 TRUSTEE OR TRUSTEE’S
       APPLICATION TO EMPLOY PAUL HASTINGS LLP AS COUNSEL

       Upon the motion (the “Motion”) of Mr. Luc A. Despins, in his capacity as the chapter 11

trustee (the “Trustee”) appointed in the chapter 11 case of Ho Wan Kwok (the “Debtor”), for the

entry of an order (this “Order”), pursuant to Rules 9014(c) and 9016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), (a) quashing the Subpoenas (defined below) that

the Debtor served on the Trustee on July 22, 2022 in connection with his Motion for Relief from

Order Appointing Luc A. Despins as Chapter 11 Trustee [Docket No. 561] (the “60(b) Motion”),

and (b) confirming that the Debtor is not entitled to any discovery in connection with the 60(b)

Motion; and this Court having jurisdiction to consider the Motion and the relief requested therein

in accordance with 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference from the

United States District Court for the District of Connecticut (as amended); and consideration of the

Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b);

and venue being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interest of the Estate, its creditors, and

all parties-in-interest; and due and sufficient notice of the Motion having been given under the
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particular circumstances; and it appearing that no other or further notice need be given; and upon

all of the proceedings had before this Court; and any objections to the relief requested herein

having been withdrawn or overruled on the merits; and after due deliberation and sufficient cause

appearing therefor, it is hereby ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The Subpoenas (as defined in the Motion) are hereby QUASHED.

       3.      The Debtor is not entitled to serve discovery on the Trustee, Paul Hastings LLP, or

any other party in connection with the Rule 60(b) Motion or the PH Retention Application.

       4.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Order.




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                                   EXHIBIT B

                   Subpoena Duces Tecum to Paul Hastings LLP
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                       SCHEDULE A TO DEBTOR’S SUBPOENA TO
                              PAUL HASTINGS, LLP

                                         INSTRUCTIONS

       1.      The responses to these Requests for the Production of Documents in accordance

with the Debtor’s Subpoena to Paul Hastings, LLP (each a “Request” and collectively, the

“Requests”) shall include such materials as are within Paul Hastings, LLP’s custody, possession

or control, or are within the custody, possession or control of its partners, associates, consultants,

accountants, other attorneys or other agents, or which are otherwise available to Paul Hastings,

LLP. Paul Hastings, LLP is specifically instructed to review the files (both hard copy and

electronic), records, computers, notes, correspondence, daily calendars and telephone logs or

records of all persons who have knowledge of the information inquired about in the Requests.

       2.      With respect to any document that Paul Hastings, LLP refuses to produce in

response to the Requests on the basis of a claim of privilege, or attorney work-product, it must

produce a privilege log in compliance with D. Conn. L. Civ. R. 26(e), made applicable to this

proceeding by Local Bankruptcy Rule 1001-1(b).

       3.      Notwithstanding the assertion of any objection to production, any document to

which an objection is raised which contains non-objectionable matter that is responsive to a

Request must be produced, but that portion of the document as to which the objection is asserted

may be withheld or redacted in the first instance provided that the privilege log required by D.

Conn. L. Civ. R. 26(e) is furnished.

       4.      Each document to be produced pursuant to the Requests is to be produced along

with all non-identical drafts and copies thereof, in its entirety without abbreviation, expurgation or

redaction.
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       5.      Documents shall be produced as they are kept in the usual course of business or,

alternatively, shall be organized and labeled to correspond to the specific Request in response to

which such documents are produced.

       6.      Electronically stored information shall be produced in a reasonably usable form or

forms as required by Fed. R. Civ. P. 45(a)(C), made applicable to this proceeding by Fed. R. Bankr.

P. 9016.

       7.      The term “all/each” shall both be construed as all and each.

       8.      The term “and/or” shall be construed either disjunctively or conjunctively as

necessary to bring within the scope of the Requests all responses that might otherwise be construed

to be outside their scope.

       9.      The singular form of any word includes the plural and vice versa.

       10.     The Requests are continuing in nature. The Debtor demands that supplemental and

additional productions be made by Paul Hastings, LLP immediately after any new or additional

responsive documents or information comes into its possession, custody, or control, or is otherwise

made available to it.

       11.     If Paul Hastings, LLP withholds documents on the basis of an asserted objection

other than privilege, then it shall affirmatively state that responsive documents are being withheld

on the basis of the objection.

       12.     Unless otherwise specified, the time period covered by these Requests is January

1, 2014 to the present.




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                                         II.    DEFINITIONS

          1.   Unless otherwise defined herein, all terms used herein shall have the meanings set

forth in D. Conn. L. Civ. R. 26(c), made applicable to this proceeding by Local Bankruptcy Rule

1001-1(b).

          2.   Unless otherwise specified herein, the rules of construction set forth in D. Conn. L.

Civ. R. 26(d), made applicable to this proceeding by Local Bankruptcy Rule 1001-1(b), shall apply

to the terms used herein.

          3.   "CCP Official” means an official of the Chinese Communist Party.

          4.   “Debtor” means Ho Wan Kwok, and anyone acting or purporting to act on his

behalf.

          5.   “Despins” means Luc A. Despins, and anyone acting or purporting to act on his

behalf.

          6.   “Disinterested” shall have the meaning under 11 U.S.C. 101(14) and Fed. R. Bankr.

P. 2007(c), Including that a person not (a) possess or assert any economic interest that would tend

to lessen the value of the bankruptcy estate or that would create either an actual or potential dispute

in which the estate is a rival claimant; or (b) possess a predisposition under circumstances that

render such a bias against the estate.

          7.   “Paul Hastings” means Paul Hasting, LLP, and includes its partners, members,

managers, managing partners, managing members, officers, employees, agents, and to the extent

applicable to a particular request, outside service providers.

          8.   “PAG Entities” means and includes PAG Holdings Limited, PAG Real Estate Asia,

PAG Real Estate, PAG Assets (Real Estate) Limited, PAG Real Estate Investments, Ltd., BT

Cayman Ltd., Super Alliance, Real Estate L.P, Sunstone KB (HKSAR) Ltd., PAG Private Equity,




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PAG Real Assets, PAG Credits and Markets, PAG Asia Capital, PAG Growth Capital, Secured

Capital Real Estate Partners (“SCREP”) V, SCREP VI, SCREP VI Management LLC, SCREP

VII, PAG Real Estate Partners I, PAG Real Estate Partners II, Polymer Capital, Pacific Alliance

Asia Opportunity Fund, Capital Structure Opportunities Fund, Pegasus Fund, RE Strategic

Investments Pte. Ltd., Strategic Investment LP, Res Investments GP, Spirit Cayman, BT Cayman,

and any other entity, regardless of form, managed by PAG or controlled by PAG Holdings Limited.

       9.      “PAX” means Pacific Alliance Asia Opportunity Fund L.P., and anyone acting or

purporting to act on its behalf.

       10.     “State Owned Entity” or “State Owned Entities” means an entity or entities owned

or controlled by the government of the People’s Republic of China and is intended to have the

same meaning ascribed to such term in the Paul Hastings Press Release titled Paul Hastings

Represents Chinese Local Government Enterprises in Seven Bond Issuances, dated April 7, 2022.

       11.     “UBS” means UBS AG, UBS Securities, LLC, UBS Securities ltd. Pte., UBS

Investment Bank, or any other entity owned or controlled, directly or indirectly, by UBS AG.

       12.     “UST” means the United States Trustee’s Office, Including its employees, agents,

and anyone acting or purporting to act on its behalf.

                              III.     REQUESTS FOR PRODUCTION

       1.      All Documents or Communications between Despins or Paul Hastings and the

UST, the Debtor, PAX, any other creditor or party in interest to this Bankruptcy Case, or anyone

acting or purporting to act on behalf of any of the foregoing Concerning the conflicts of interest

alleged in (a) the Letter from Aaron A. Mitchell on the Debtors behalf Objecting to Appointment

of Luc A Despins as Trustee dated July 11, 2022 (ECF No. 531), Including the letter attached

thereto from Aaron A. Mitchell to the UST dated July 11, 2022 (ECF No. 531-1); and/or (b) the




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Debtor’s Motion for Relief from Order Appointing Luc A. Despins as Chapter 11 Trustee dated

July 15, 2022 (ECF No. 561).

       2.      Documents sufficient to identify all State Owned Entities or CCP Officials

represented or advised by Paul Hastings, Including the scope of such representations and the status

of such representations, i.e., completed, terminated, on-going, or not yet commenced.

       3.      Documents sufficient to identify all consideration received by Paul Hastings,

whether monetary or otherwise, from the representation of all State Owned Entities or CCP

Officials regardless of the Paul Hastings office from which the services generating the revenue

were performed.

       4.      Documents Sufficient to identify all matters on which Paul Hastings has advised or

represented each of the PAG Entities, Including the scope of each such representation and the

status of each such representation, i.e., completed, terminated, on-going, or not yet Commenced.

       5.      Documents sufficient to identify all consideration, whether monetary or otherwise,

received by Paul Hastings from its representation of each of the PAG Entities regardless of the

Paul Hastings office from which the services generating the revenue were performed.

       6.      Documents Sufficient to identify all matters on which Paul Hastings has advised or

represented UBS.

       7.       Documents sufficient to identify all consideration, whether monetary or otherwise,

received by Paul Hastings from its representation of UBS regardless of the Paul Hastings office

from which the services generating the revenue were performed.

       8.      Documents sufficient to identify any licenses, certificates or other authorizations

held by Paul Hastings permitting it to operate its:

               a. Beijing office;




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               b. Hong Kong office; and

               c. Shanghai office,

Including Documents sufficient to Identify (i) all Chinese governmental authorities issuing any

such licenses, certificates or other authorizations, (ii) the terms and conditions for continued

maintenance of any such licenses, certificates or other authorizations, Including Documents

sufficient to Identify the level and/or degree of discretion held by any Chinese governmental

authorities to suspend, revoke or allow Paul Hastings to continue to maintain any or all such

licenses, certifications or other authorizations; and (iii) the date of which any such licenses,

certificates or other authorizations expire by their terms.

       9.      Documents sufficient to identify the revenue generated by each of Paul Hastings’

offices located in the People’s Republic of China, Including Hong Kong, for the period beginning

January 1, 2017 and ending June 30, 2022.

       10.     All Documents and Communications between Despins or Paul Hastings, on the one

hand, and any other person, Concerning (a) the Debtor’s adverse interests to the Chinese

Government or the Chinese Communist Party; or (b) whether those adverse interests impact, one

way or another, the issue of whether Despins or Paul Hastings is Disinterested.




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                                     EXHIBIT C

                Subpoena to Testify at Deposition to Paul Hastings LLP
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                                         SCHEDULE A

                                         DEFINITIONS

          1.   Unless otherwise defined herein, and to the extent applicable, all terms used

herein shall have the meanings set forth in D. Conn. L. Civ. R. 26(c), made applicable to this

proceeding by Local Bankruptcy Rule 1001-1(b).

          2.   Unless otherwise specified herein, and to the extent applicable, the rules of

construction set forth in D. Conn. L. Civ. R. 26(d), made applicable to this proceeding by Local

Bankruptcy Rule 1001-1(b), shall apply to the terms used herein.

          3.   "CCP Official” means an official of the Chinese Communist Party.

          4.   “Debtor” means Ho Wan Kwok, and anyone acting or purporting to act on his

behalf.

          5.   “Despins” means Luc A. Despins, and anyone acting or purporting to act on his

behalf.

          6.   The “Despins Declaration of Disinterestedness” means the Declaration of

Disinterestedness of Luc A. Despins dated July 7, 2022 (ECF No. 515-1).

          7.   “Disinterested” shall have the meaning under 11 U.S.C. 101(14) and Bankr. R.

2007(c), Including that a person not (1) possess or assert any economic interest that would tend

to lessen the value of the bankruptcy estate or that would create either an actual or potential

dispute in which the estate is a rival claimant; or (2) possess a predisposition under

circumstances that render such a bias against the estate.

          8.   The “First Supplemental Declaration” means the First Supplemental Declaration

of Disinterestedness of Luc A Despins dated July 12, 2022 (ECF No. 538).

          9.   “Paul Hastings” means Paul Hasting, LLP, and includes its partners, members,

manager, managing members, employees, and agents.
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       10.     “PAG Entities” means and includes PAG Holdings Limited, PAG Real Estate

Asia, PAG Real Estate, PAG Assets (Real Estate) Limited, PAG Real Estate Investments, Ltd.,

BT Cayman Ltd., Super Alliance, Real Estate L.P, Sunstone KB (HKSAR) Ltd., PAG Private

Equity, PAG Real Assets, PAG Credits and Markets, PAG Asia Capital, PAG Growth Capital,

Secured Capital Real Estate Partners (“SCREP”) V, SCREP VI, SCREP VI Management LLC,

SCREP VII, PAG Real Estate Partners I, PAG Real Estate Partners II, Polymer Capital, Pacific

Alliance Asia Opportunity Fund, Capital Structure Opportunities Fund, Pegasus Fund, RE

Strategic Investments Pte. Ltd., Strategic Investment LP, Res Investments GP, Spirit Cayman,

BT Cayman, and any other entity, regardless of form, managed by PAG or controlled by PAG

Holdings Limited.

       11.     “PAX” means Pacific Alliance Asia Opportunity Fund L.P., and anyone acting or

purporting to act on its behalf.

       12.     “State Owned Entity” or “State Owned Entities” means an entity or entities

owned or controlled by the government of the People’s Republic of China and is intended to

have the same meaning ascribed to such term in the April 7, 2022, Paul Hastings Press Release

titled Paul Hastings Represents Chinese Local Government Enterprises in Seven Bond Issuances.

       13.     “Trustee” or “Chapter 11 Trustee” means the position of Chapter 11 Trustee of

the Debtor’s Estate.

       14.     “UBS” means UBS AG, UBS Securities, LLC, UBS Securities ltd. Pte., UBS

Investment Bank, or any other entity owned or controlled, directly or indirectly, by UBS AG.

       15.     “UST” means the Office of the United States Trustee, including its employees,

agents, and anyone acting or purporting to act on its behalf.




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                                    DEPOSITION TOPICS

       1.      Despins’ appointment, or consideration for appointment, as Trustee.

       2.      Any conflicts of interest, alleged conflicts of interest or potential conflicts of

interest between Despins or Paul Hastings and the Debtor or the Debtor’s Estate.

       3.      The conflicts of interest, or facts Concerning Despins’ or Paul Hastings’

Disinterestedness or lack thereof, alleged in (a) the Letter from Aaron A. Mitchell on the Debtors

behalf Objecting to Appointment of Luc A Despins as Trustee dated July 11, 2022 (ECF No.

531), Including the letter attached thereto from Aaron A. Mitchell to the UST dated July 11,

2022 (ECF No. 531-1); and/or (b) the Debtor’s Motion for Relief from Order Appointing Luc A.

Despins as Chapter 11 Trustee dated July 15, 2022 (ECF No. 561).

       4.      The Despins Declaration of Disinterestedness or First Supplemental Declaration,

Including Despins’ or Paul Hastings’ relationships, or potential conflicts of interest with, any of

the entities referred to in the Despins Declaration of Disinterestedness or First Supplemental

Declaration.

       5.      Paul Hastings’ or Despins’ relationship with or representation of PAX, PAG or

any of the PAG Entities, Including the scope of such representations, the status of such

representations, i.e., completed, terminated, on-going, or not yet commenced, and the

consideration received by Paul Hastings, whether monetary or otherwise, from all such the

representations.

       6.      The relationship between each or any of the PAG Entities and PAX and/or each

and any of these entities’ relationships, direct or indirect, to any common parent company with

PAX.




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        7.     Paul Hastings’ or Despins’ relationship with or representation of UBS, Including

the scope of such representations, the status of such representations, i.e., completed, terminated,

on-going, or not yet commenced, and the consideration received by Paul Hastings, whether

monetary or otherwise, from all such representations.

        8.     The litigation between the Debtor and UBS AG, identified in the Despins

Declaration of Disinterestedness, and whether, as a result of Paul Hastings representation of

multiple UBS entities, Despins is Disinterested.

        9.     Paul Hastings’ or Despins’ relationship with or representation of any/all State

Owned Entities or CCP Officials, Including the scope of such representations, the status of such

representations, i.e., completed, terminated, on-going, or not yet commenced, and the

consideration received by Paul Hastings, whether monetary or otherwise, from all such

representations

        10.    Licenses, certificates or other authorizations held by Paul Hastings permitting it to

operate its:

               a. Beijing office;

               b. Hong Kong office; and

               c. Shanghai office,

        11.    The Chinese governmental authorities issuing any licenses, certificates or other

authorizations referred to in the prior paragraph, the terms and conditions for continued

maintenance of any such licenses, certificates or other authorizations, Including the level and/or

degree of discretion held by any Chinese governmental authorities to suspend, revoke or allow

Paul Hastings to continue to maintain any or all such licenses, certifications or other




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authorizations; and the date on which any such licenses, certificates or other authorizations

expire by their terms.

       12.       The revenue generated by each of Paul Hastings’ offices located in the People’s

Republic of China, Including Hong Kong, for the period beginning January 1, 2017 and ending

June 30, 2022.

       13.       The Debtor’s adverse interests to the Chinese Government or the Chinese

Communist Party and whether those adverse interests impact, one way or another, the issue of

whether Despins or Paul Hastings is Disinterested.

       14.       Paul Hastings’ search for, and production of, Documents responsive to the

Debtors July 22, 2022, Requests for Production included in the Subpoena Decus Tecum served

on Paul Hastings by the Debtor.




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